ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

  

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UNITED STATES OF AMERICA
- V.-7 SUPERSEDING INDICTMENT
ROSS WILLIAM ULBRICHT, : S114 Cr. 68 (KBF)
a/k/a “Dread Pirate Roberts,” :
a/k/a “DPR,” | . oe
a/k/a “Silk Road,” ! ipo 4
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Defendant. : Le peppers  aetrew ge .
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COUNT ONE - _ (0 St

 

 

(Narcotics Trafficking)

The Grand Jury charges:

BACKGROUND

1. In or about January 2011, ROSS WILLIAM ULBRICHT, a/k/a
“Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the
defendant, created an underground website known as “Silk Road,”
designed to enable users across the world to buy and sell
illegal drugs and other illicit goods and services anonymously
and outside the reach of law enforcement.

2. From in or about January 2011 through in or about
October 2013, when the Silk Road website was shut down by law
enforcement authorities, ROSS WILLIAM ULBRICHT, a/k/a “Dread
Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the cefendant,
owned and operated Silk Road. During that time, Silk Road

emerged as the most sophisticated and extensive criminal
marketplace on the Internet. The website was used by several
thousand drug dealers and other unlawful vendors to distribute
hundreds of kilograms of illegal drugs and other illicit goods
and services to well over a hundred thousand buyers worldwide,
and to launder hundreds of millions of dollars derived from
these unlawful transactions.

3. ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, controlled all
aspects of Silk Road, with the assistance of various paid
employees whom he managed and supervised. Through his ownership
and operation of Silk Road, ULBRICHT reaped commissiors worth
tens of millions of dollars, generated from the illicit sales
conducted through the site.

4. In seeking to protect his criminal enterprise and the
illegal proceeds it generated, ROSS WILLIAM ULBRICHT, a/k/a
“Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the
defendant, pursued violent means, including soliciting the
murder-for-hire of several individuals he believed posed a

threat to that enterprise.

STATUTORY ALLEGATIONS

 

5. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”

a/k/a “DPR,” a/k/a “Silk Road,” the defendant, distributed and
possessed with the intent to distribute controlled sukstances,
and aided and abetted such distribution and possession with the
intent to distribute, in violation of Title 21, United States
Code, Section 841(a) (1).

6. The controlled substances involved in the offense
included, among others, 1 kilogram and more of mixtures and
substances containing a detectable amount of heroin, & kilograms
and more of mixtures and substances containing a detectable
amount of cocaine, 10 grams and more of mixtures and substances
containing a detectable amount of lysergic acid diethylamide
(LSD), and 500 grams and more of mixtures and substances
containing a detectable amount of methamphetamine, its salts,
isomers, and salts of its isomers, all in violation of Title 21,
United States Code, Section 841(b) (1) (A).

(Title 21, United States Code, Sections 812, 841 (a) (1) and
841(b) (1) (A); and Title 18, United States Code, Section 2.)

COUNT TWO
(Distribution of Narcotics by Means of the Internet)

The Grand Jury further charges:

7. The allegations contained in paragraphs 1 through 4 of
this Indictment are repeated and realleged as if fully set forth
herein.

8. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and

elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, delivered,
distributed, and dispensed controlled substances by means of the
Internet, in a manner not authorized by law, and aided and
abetted such activity, in violation of Title 21, United States
Code, Section 841(h).

9. The controlled substances involved in the offense
included, among others, 1 kilogram and more of mixtures and
substances containing a detectable amount of heroin, 5 kilograms
and more of mixtures and substances containing a detectable
amount of cocaine, 10 grams and more of mixtures and substances
containing a detectable amount of lysergic acid diethylamide
(LSD), and 500 grams and more of mixtures and substances
containing a detectable amount of methamphetamine, its salts,
isomers, and salts of its isomers, all in violation of Title 21,
United States Code, Section 841(b) (1) (A).

(Title 21, United States Code, Sections 812, 841 (h)
and 841(b) (1) (A) .)

COUNT THREE
(Narcotics Trafficking Conspiracy)

The Grand Jury further charges:

10. The allegations contained in paragraphs 1 through 4 of
this Indictment are repeated and realleged as if fully set forth
herein.

11. From in or about January 2011, up to and including in

or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,"
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other tc violate
the narcotics laws of the United States.

12. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others krown and
unknown, would and did distribute and possess with the intent to
distribute controlled substances, in violation of Title 21,
United States Code, Section 841(a) (1).

13. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts," a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did deliver, distribute, and dispense
controlled substances by means of the Internet, in a manner not
authorized by law, and aid and abet such activity, in violation
of Title 21, United States Code, Section 841(h).

14. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, would and did knowingly
and intentionally use a communication facility in committing and
in causing and facilitating the commission of acts constituting

a felony under Title 21, United States Code, Sections 841, 846,
952, 960, and 963, in violation of Title 21, United States Code,

Section 843(b).

15. The controlled substances that ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,”
the defendant, conspired to distribute and possess with the
intent to distribute, and to deliver, distribute, and dispense
by means of the Internet, in a manner not authorized by law, and
to aid and abet such activity, included, among others, 1
kilogram and more of mixtures and substances containing a
detectable amount of heroin, 5 kilograms and more of mixtures
and substances containing a detectable amount of cocaine, 10
grams and more of mixtures and substances containing a
detectable amount of lysergic acid diethylamide (LSD), and 500
grams and more of mixtures and substances containing a
detectable amount of methamphetamine, its salts, isomers, and
salts of its isomers, all in violation of Title 21, United
States Code, Sections 841(b) (1) (A) and 841(h).

Overt Acts

16. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and

elsewhere:

a. In or about January 2011, ROSS WILLIAM ULBRICHT,

a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,”
the defendant, created the Silk Road website, providing a
platform for drug dealers around the world to sell a wide
variety of controlled substances via the Internet.

b. On or about March 31, 2013, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, in connection with operating the Silk Road
website, paid a Silk Road user (“User-1") approximately $150,000
to murder another Silk Road user (“User-2”) who was threatening
to release the identities of thousands of users of the site.

Cc. On or about April 8, 2013, ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,"
the defendant, in connection with operating the Silk Road
website, paid User-1 approximately $500,000 to murder four
additional persons, whom ULBRICHT believed were associated with
User-2.,

d. On or about October 1, 2013, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, logged on as a site administrater to the
web server hosting the Silk Road website.

(Title 21, United States Code, Section 846.)
COUNT FOUR
(Continuing Criminal Enterprise)

The Grand Jury further charges:

17. The allegations contained in paragraphs 1 through 4 of
this Indictment are repeated and realleged as if fully set forth
herein.

18. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, engaged ina
continuing criminal enterprise, in that he knowingly and
intentionally violated Title 21, United States Code, Sections
841, 843 and 846, which violations were part of a continuing
series of violations of the Controlled Substances Act, Title 21,
United States Code, Section 801, et seq., undertaken by
ULBRICHT, in concert with at least five other persons with
respect to whom ULBRICHT occupied a position of organizer, a
supervisory position, and a position of management, ard from
which such continuing series of violations ULBRICHT obtained
substantial income and resources.

(Title 21, United States Code, Section 848 (a).)
COUNT FIVE
(Conspiracy to Commit and Aid and Abet Computer Hacking)

The Grand Jury further charges:
19. The allegations contained in paragraphs 1 through 4 of

this Indictment are repeated and realleged as if fully set forth

herein.

20. In addition to providing a platform for the purchase
and sale of illegal narcotics, the Silk Road website also
provided a platform for the purchase and sale of computer-
hacking services and malicious software designed for computer
hacking, such as password stealers, keyloggers, and remote
access tools. While in operation, the Silk Road website
regularly offered hundreds of listings for such services and
software.

STATUTORY ALLEGATIONS

21. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other to commit
computer hacking, and to aid and abet the same, in viclation of
Title 18, United States Code, Sections 1030(a) (2) and 2.

22. It was a part and an object of the conspiracy that

ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did intentionally access computers without
authorization, and thereby would and did obtain information from
protected computers, for purposes of commercial advantage and
private financial gain, and in furtherance of criminal and
tortious acts in violation of the Constitution and the laws of
the United States, and would and did aid and abet suck
unauthorized access, in violation of Title 18, United States
Code, Sections 1030(a) (2) and 2.

(Title 18, United States Code, Section 1030(b).)

COUNT SIX
(Conspiracy to Traffic in Fraudulent Identification Documents)

The Grand Jury further charges:

23. The allegations contained in paragraphs 1 through 4
and paragraph 20 of this Indictment are repeated and realleged
as if fully set forth herein.

24. In addition to providing a platform for the purchase
and sale of illegal narcotics and computer-hacking services and
software, the Silk Road website also provided a platform for the
purchase and sale of fraudulent identification documerts, such
as fake driver’s licenses and passports. While in operation,
the Silk Road website regularly offered hundreds of listings for

such products.

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STATUTORY ALLEGATIONS

25. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other to traffic
in fraudulent identification documents, and to aid and abet the
same, in violation of Title 18, United States Code, Sections
1028 (a) (2).

26. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” @/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did knowingly transfer, in and affecting
interstate and foreign commerce, false identification documents
and authentication features, knowing that such documerts and
features were produced without lawful authority, including
driver’s licenses, personal identification cards, and documents
that appeared to be issued by and under the authority of the
United States, and would and did aid and abet such transfers, in
violation of Title 18, United States Code, Sections 1028 (a) (2)

and 2.

(Title 18, United States Code, Section 1028(f).)

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COUNT SEVEN
(Money Laundering Conspiracy)

The Grand Jury further charges:

27. The allegations contained in paragraphs 1 through 4
and paragraphs 20 and 24 of this Indictment are repeated and
realleged as if fully set forth herein.

28. ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, designed Silk
Road to include a Bitcoin-based payment system that served to
facilitate the illegal commerce conducted on the site, including
by concealing the identities and locations of the users
transmitting and receiving funds through the site.

STATUTORY ALLEGATIONS

29. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other tc commit
money laundering, in violation of Title 18, United States Code,
Sections 1956(a) (1) (A) (i) and 1956(a) (1) (B) (i).

30. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and

unknown, in offenses involving and affecting interstate and

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foreign commerce, knowing that the property involved in certain
financial transactions represented proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
such financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, narcotics trafficking,
computer hacking, and identification document fraud, in
violation of Title 21, United States Code, Section 84€, and
Title 18, United States Code, Sections 1030 and 1028,
respectively, with the intent to promote the carrying on of such
specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a) (1) (A) (i).

31. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, in offenses involving and affecting interstate and
foreign commerce, knowing that the property involved in certain
financial transactions represented proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
such financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, narcotics trafficking,
computer hacking, and identification document fraud, in
violation of Title 21, United States Code, Section 846, and
Title 18, United States Code, Sections 1030 and 1028,

respectively, knowing that the transactions were designed in

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whole and in part to conceal and disguise the nature, the
location, the source, the ownership, and the control of the
proceeds of specified unlawful activity, in violation of Title
18, United States Code, Section 1956 (a) (1) (B) (i).
(Title 18, United States Code, Section 1956 (h).)
FORFEITURE ALLEGATIONS

32. As a result of committing the controlled substance
offenses alleged in Counts One through Four of this Indictment,
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, shall forfeit to the
United States, pursuant to Title 21, United States Code, Section
853, any property constituting, or derived from, any proceeds
the defendant obtained, directly or indirectly, as a result of
the offenses and any property used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission
of, the offenses.

33. As a result of committing the computer hacking and
identification fraud offenses alleged in Counts Five and Six of
this Indictment, ROSS WILLIAM ULBRICHT, a/k/a “Dread Firate
Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the defendant, shall
forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a) (2) (B), any property constituting, or
derived from, proceeds obtained directly or indirectly as a

result of the offenses.

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34. As a result of committing the money laundering offense
alleged in Count Seven of this Indictment, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982(a) (1), any
property, real or personal, involved in the offense, cor any
property traceable to such property.

Substitute Asset Provision

35. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:

(1) cannot be located upon the exercise of due diligence;

(2) has been transferred or sold to, or deposited with, a

third person;

(3) has been placed beyond the jurisdiction of the Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot

be subdivided without difficulty;
it igs the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b) and Title 21, United States

Code, Section 853(p), to seek forfeiture of any other property

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of the defendant up to the value of the above-described

forfeitable property.

(Title 18, United States Code, Sections 981 and 982,
Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

   
 

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- Vv. -

ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,”

a/k/a “Silk Road,”

Defendant.

 

INDICTMENT
S114 Cr. 68 (KBF)

(21 U.S.C. §§ 812, 841(a) (1),
841(b) (1) (A), 841(h), 846, & 848(a);
18 U.S.C. §§ 1030(b), 1028(f),
1956(h) & 2)

PREET BHARARA

 

 

  
 

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